    AD 91 (Rev. 11111) Criminal Complaint



                                            UNITED STATES DISTRICT COURT                                                      FILED
                                                                 for the                                                   August 24, 2023
                                                                                                                        CLERK, U.S. DISTRICT COURT
                                                   WESTERN District of TEXAS                                            WESTERN DISTRICT OF TEXAS

                      United States of America                       )                                                        Fidel Morales
                                                                                                                 BY: ________________________________
                                  v.                                 )                                                                   DEPUTY
                                                                     )       Case No.
                                                                     )
                                                                     )
                                                                     )                             EP:23-M-02693-MAT
                       Brian Alexis Munoz Castro                     )
                               Defendant(s)


                                                   CRIMINAL COMPLAINT
             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
    On or about the date(s) of      March 31, 2023                         . in the county of El Paso                              in the
    Western                District of Texas                    , the defendant(s)   violated:

                Code Section                                                   Offense Description

    21 USC 841                                 Possession with the intent to distribute a controlled substance; 500
                                               grams or more of methamphetamine




             This criminal complaint is based on these facts:

    See attached affidavit.




             [j] Continued on the attached sheet.


Complaint sworn to telephonically on
   August 24, 2023
____________       at __________
                         02:00 PM and signed                                                     Complainant's signature

electronically. FED.R.CRIM.P. 4.1(b)(2)(A)                                   FBI TFO Mark Cervantes
                                                                                                  Printed name and title
    o Sworn to before me and signed in my presence.
    oX Sworn to telephonically and signed electronically.
    Date:    08/24/2023
                                                                                                    Judge's signature

    City and state:      EI Paso, Texas                                      Miguel A. Torres, United States Magistrate Judge
                                                                                                  Printed name and title
                                      AFFIDAVIT:


       On March 31, 2023, agents conducted physical surveillance on an individual (MALE-I)

suspected of illegally smuggling firearms from El Paso, Texas into Mexico. Agents observed

MALE-l drive to a gun store in El Paso, Texas and leave without making a purchase. Shortly

thereafter, agents observed MALE-l travel to another gun store in El Paso, Texas, where MALE-

1 was observed carrying a large box. Agents interviewed an employee at the second gun store,

who informed agents that MALE-I had purchased a few rifle parts. Shortly thereafter, agents

observed MALE-l interact with Brian Alexis Munoz Castro (CASTRO) in a shopping center

parking lot. Agents followed CASTRO away from the parking lot. Agents approached CASTRO

when he parked his vehicle outside of a residence in El Paso, Texas. CASTRO agreed to speak

with agents.

       After being advised of his Miranda Rights, CASTRO informed agents that he currently

had illegal narcotics stored at his house in El Paso, Texas (LOCA TION-l), which is located

within the Western District of Texas. CASTRO provided agents with written consent to search

LOCATION-I. CASTRO showed agents to LOCATION-l and unlocked the door for the agents.

CASTRO showed agents the illegal narcotics, which were concealed in a bedroom closet. Agents

seized three pillow-shaped bundles wrapped in plastic wrap of presumed crystal

methamphetamine and a plastic grocery bag containing an uncounted amount of blue "M30"

pills presumed to be fentanyl. Agents also discovered miscellaneous ammunition, firearms parts,

and United States currency inside LOCATION-I. The three pillow-shaped bundles weighed

approximately 2.53 kilograms and field-tested positive for the properties of methamphetamine.
The blue "M30" pills weighed approximately 0.33 kilograms and were not field-tested due to

safety concerns about fentanyl.

        This affidavit does not set forth all known facts regarding this investigation but only

those facts which establish probable cause.
